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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
                                             :
                                             :       CRIMINAL NO. 22-cr-200
               v.                            :
                                             :
PETER K. NAVARRO,                            :
                                             :
                        Defendant.           :

            UNITED STATES’ REPLY TO DEFENDANT’S OPPOSITION TO
                 GOVERNMENT’S OMNIBUS MOTION IN LIMINE

       At trial, the government intends to present a streamlined case to the jury to establish that

the Defendant, Peter K. Navarro, was subpoenaed to produce documents and appear for a

deposition before the Select Committee to Investigate the January 6th Attack on the United States

Capitol (“the Committee”), and nonetheless made a deliberate decision not to do either. The

Government’s Omnibus Motion in Limine, ECF No. 58, is intended to address the evidence and

arguments that are appropriate to present to the jury. The Defendant’s opposition blurs the line

between the legal defenses that he has presented to the Court in his Rule 12 motion to dismiss and

trial defenses that may be presented to the jury. Indeed, he does not just blur the line, he argues

explicitly that if the Court should rule against him on his motion to dismiss, then it should allow

him to relitigate those same issues before the jury. See ECF No. 59 at 6-7, 20-21. The Court

should exercise its gatekeeping function to exclude evidence and argument at trial regarding all

matters that do not go to the elements of the offenses charged and to the matters that must be

resolved by the jury.

       In his opposition, the Defendant also continues his effort to avoid the plain meaning of

controlling case law that sets the elements of the Contempt of Congress charge, 2 U.S.C. 192, and
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that limits the scope of permissible defenses to that charge. 1 And he continues to advance defenses

that he has waived and looks for ways to inject political issues into the trial. At bottom, the

Defendant’s argument is not with the government but with the controlling law, and his opposition

betrays his wish that the law were different.

         The Government’s Omnibus Motion in Limine should be granted.

    I.      Controlling Precedent Precludes the Defenses and Arguments that the
            Defendant Wishes to Rely Upon at Trial

         Binding precedent makes clear that for purposes of the contempt of Congress statute,

“willful” means a deliberate and intentional failure to appear or produce records, and nothing more.

Licavoli v. United States, 294 F.2d 207, 208 (D.C. Cir. 1961) (“[H]e who deliberately and

intentionally fails to respond to a subpoena ‘willfully makes default.’”) (citing United States v.

Bryan, 339 U.S. 323 (1950); United States v. Fleischman, 339 U.S. 349 (1950)); see also Bryan,

339 U.S. at 330 (“[W]hen the Government introduced evidence in this case that respondent had

been validly served with a lawful subpoena directing her to produce records within her custody

and control, and that on the day set out in the subpoena she intentionally failed to comply, it made

out a prima facie case of wilful default.”). It does not matter if the Defendant’s deliberate and

intentional failure was in good faith; the Government does not have to show “evil motive”—“[a]

deliberate intention not to appear is sufficient.” Licavoli, 294 F.2d at 208; see also, Sinclair v.

United States, 279 U.S. 263, 299 (1929), overruled on other grounds, United States v. Gaudin,

515 U.S. 506 (1995) (“The gist of the offense is refusal to answer pertinent questions. No moral




1
  The Government acknowledges that the parties have not yet received the benefit of a ruling on
the Defendant’s Motion to Dismiss the charges. ECF No. 34. The Government’s Omnibus Motion
in Limine and this Reply are submitted with the expectation that the Court will resolve prior to
trial the pending issues regarding the legal standard applicable to the offenses charged and any
potential defenses to those charges.


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turpitude is involved. Intentional violation is sufficient to constitute guilt. There was no

misapprehension as to what was called for. The refusal to answer was deliberate. The facts sought

were pertinent as a matter of law, and section 102 made it appellant’s duty to answer. He was

bound rightly to construe the statute. His mistaken view of the law is no defense.”).

       The Defendant attacks this clear and controlling precedent in a variety of ways, but none

of his challenges have merit. First, he suggests that the D.C. Circuit’s decision in Licavoli and

other controlling cases should not be credited because the decisions are old. ECF No. 59 at 7 (“The

Government supports its position by pointing to Licavoli and other case authority that were decided

years ago during the Kennedy administration and earlier…”). Whatever the age of this clear and

directly applicable case law, it is binding precedent.

       Defendant then attempts to brush off the 2022 application of these established legal

standards in the recent trial in United States v. Bannon where the court instructed the jury as

follows:

       For the fourth element, the government must prove to you, beyond a reasonable doubt, that
       the Defendant acted “willfully.” The word “willful,” in this context, does not mean that
       the Defendant’s failure or refusal to comply with the Select Committee’s subpoena was for
       an evil or a bad purpose. The reason or purpose of the failure or refusal to comply is
       immaterial, so long as the failure or refusal was deliberate and intentional. To be deliberate
       or intentional means that the failure to comply was not the result of inadvertence, accident,
       or mistake, including a mistake regarding the operative date.

       It is not a defense to contempt of Congress that the Defendant did not comply with the
       subpoena because of the legal advice he received from his attorney or someone else,
       because of his understanding or belief of what the law required or allowed, or because of
       his understanding or belief that he had a legal privilege, such as executive privilege, that
       excused him from complying.

United States v. Bannon, 1:21-cr-00670, ECF No. 129. 2 The Defendant appears to suggest that



2
 The Government anticipates that it will submit proposed jury instructions in this case consistent
with those that the court used in Bannon.


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this court should disregard the Bannon court’s thoughtful and persuasive rulings because the court

there only followed controlling precedent “reluctantly.” ECF No. 59 at 8. The point, of course, is

that the Bannon court followed controlling precedent, and it did so because this is not a question

of first impression on which the court was free to devise its own standard.

       Defendant goes on to suggest that the Court should disregard Licavoli because the

defendant there was a purported mobster rather than a former Executive Branch official. ECF No.

59 at 7-8. The Defendant argues that the law of contempt should be different for a former

Executive Branch official because a prosecution may cause interbranch conflict, but he concedes

that there is no controlling law that supports his view. See ECF No. 59 at 5 (noting that neither

the Supreme Court nor D.C. Circuit have considered the issue of a testimonial privilege for

presidential advisors, and speculating what the law regarding the Speech or Debate Clause --

applicable to congressional aides -- “likely portends” for the future.). 3 Defendant offers no valid

reason why the elements of the offense of Contempt of Congress should be different for one

defendant rather than another. The law is clear that a subpoena recipient’s mistaken belief that he

has a good reason not to comply is no defense, and this Court should not treat his mistake of law

differently than anyone else’s.

       On this point, the Defendant raises the specter of horrible consequences if the Court were

to apply controlling law to a former presidential aide, suggesting that it will enable congressional

committees to “force current or former presidential aides to disclose privileged communications

with a President of the opposite party…” ECF No. 59 at 7, n10. Yet nothing like that happened




3
  The Defendant cites dicta from Tobin v. United States, 306 F.2d 270 (D.C. Cir. 1962), but that
case involved testimony by a state government official and did not involve an interbranch dispute.
There the court concluded only that the subcommittee had exceeded the scope of its authority to
investigate. Id. at 276.


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in this case. It is undisputed that the Defendant made numerous and extensive public statements

in his personal capacity on topics of interest to the Committee, and the evidence at trial will show

that the Committee repeatedly assured him in writing that there was room for him to answer some

questions and object to others in a manner that would not trench on confidential communications.

He simply chose to ignore the Committee’s offers to accommodate him. For this reason too,

Defendant’s general due process concerns sprinkled throughout his briefing also fall flat; he was

warned that his privilege claims did not excuse him from his obligations under the subpoena, and

indeed that there was a process to resolve them.

       In another effort to avoid the impact of Licavoli and the controlling law regarding

Contempt of Congress, the Defendant argues that the Court should, instead, apply the “middle

ground” willfulness standard set forth in Bryan v. United States, 524 U.S. 184 (1998). See ECF

No. 59 at 9. But Bryan did nothing explicitly or implicitly to change the established law applicable

to Contempt of Congress. For his proposition that the Court should apply the middle-ground

standard, the Defendant cites to an Arms Export Control Act case, United States v. Burden, 934

F.3d 675, 690-91 (D.C. Cir. 2019), in which the D.C. Circuit rejected the defendant’s request to

apply the strictest “willfulness” standard from Cheek v. United States, 498 U.S. 192 (1991) and

Ratzlaf v. United States, 510 U.S. 135 (1994). Burden provides no help for the Defendant here.

As Burden noted, “[t]he Supreme Court has explained that ‘willfully’ is ‘a word of many meanings

whose construction is often dependent on the context in which it appears.’” Id. at 689-90 (quoting

Bryan at 191). Likewise, “the [Supreme] Court has developed an approach to ‘willfulness’ that is

calibrated to the statutes in which it appears, consistently reading it to require proof that the

defendant had a sufficiently culpable state of mind, but not to require proof so specific as to stymie

the statute’s enforcement.” Id. at 690. This is precisely the point. Contempt is a unique context




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in which the courts have explicitly given the term “willful” a particular meaning – a meaning that

is necessary to avoid stymying its enforcement. See Bryan, 339 U.S. at 331 (“On the other hand,

persons summoned as witnesses by competent authority have certain minimum duties and

obligations which are necessary concessions to the public interest in the orderly operation of

legislative and judicial machinery. A subpoena has never been treated as an invitation to a game

of hare and hounds, in which the witness must testify only if cornered at the end of the chase. If

that were the case, then, indeed, the great power of testimonial compulsion, so necessary to the

effective functioning of courts and legislatures, would be a nullity.”); Quinn v. United States, 349

U.S. 155, 160-161 (1955) (confirming that the requisite intent is a deliberate, intentional refusal to

answer, and underscoring the importance of Congress’ power to investigate: “[t]his power, deeply

rooted in American and English institutions, is indeed co-extensive with the power to legislate.

Without the power to investigate—including of course the authority to compel testimony, either

through its own processes or through judicial trial—Congress could be seriously handicapped in

its efforts to exercise its constitutional function wisely and effectively.”).

        The Defendant again tries to muddy the waters regarding the applicable “willfulness”

standard by raising the distinction between intent and motive, see ECF No. 59 at 10-11, but it is

not clear precisely how the Defendant believes this is helpful to his argument, particularly given

that motive is clearly not an element of the offense charged in this case. He cites United States v.

Washington, 705 F.2d 489 (D.C. Cir. 1983), but there the court held merely that evidence of good

motive was not admissible or probative of the knowing and willful intent required by the statute

that governs false statements in passports, 18 U.S.C § 1542. Id. at 493. The motive/intent

dichotomy is of no use to the Defendant’s argument here.




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    II.      The Defendant is Not Entitled to Litigate Legal Defenses Before the Jury

          The Defendant persists in his argument that he had a valid privilege that shielded him from

the Committee’s subpoena and that protects him from these contempt charges. The Government

will not restate or address those issues further here. For purposes of the Government’s motion in

limine, what matters is that the Defendant’s claim of immunity from prosecution is a legal issue

for the Court, and not to be presented to the jury. The Defendant claims that “the Government

does not want this Court to address the issue central to this action: what privileges and immunities

does a former president have with respect to the advice provided by his former senior advisers.”

But the Government does, indeed, want this Court -- rather than the jury -- to resolve those issues

as presented in the pending Rule 12 motion to dismiss. At the hearing on the Defendant’s Motion

to Compel (ECF No. 31), the Court repeatedly directed the Defendant to focus on the difference

between legal issues that may affect the validity of the charges and issues that may properly be

presented as a defense at trial. See Hrg. Tr. 8/31/22 at 16, 23, 24, and 25. The Court should do so

again here. The Defendant’s claim of immunity from prosecution is not a matter to be decided by

the jury.

          Despite the distinction between these legal issues and factual issues for the jury, the

Defendant argues that, if his motion to dismiss is denied, he should be permitted to relitigate the

same issues before the jury. ECF No. 59 at 6-7. But that legal challenge stands on the same footing

as other legal challenges, such as a claim of selective prosecution, which the Defendant concedes

must be resolved by the Court. See ECF No. 59 at 19; United States v. Washington, 705 F.2d at

495; Cf. United States v. Covington, 395 U.S. 57, 59-60 (1969) (finding that, where the Fifth

Amendment privilege against self-incrimination excused an individual from complying with a

federal marijuana tax ,payment law, the question of whether the privilege actually excused




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compliance and therefore provided a basis for dismissal of criminal charges for not paying the tax

was a question of law for the court to decide pretrial under Fed R. Crim. P. 12); United States v.

Bulger, 816 F.3d 137, 146-48 (1st Cir. 2016) (finding the judge was the proper factfinder to

determine if the defendant had been given immunity from prosecution by the government in a

pretrial decision). The Government is aware of no reason that the Court should treat one legal

defense differently than the other, resolving one at the Rule 12 stage and permitting the defendant

a second bite at the apple before the jury on the other.

        Once the Court resolves the Defendant’s Rule 12 motion to dismiss the charges based on

his assertion of executive privilege, the issue is not subject to further litigation at trial or resolution

by the jury. If the Court’s denies the Defendant’s motion to dismiss, the jury will, of course, be

instructed regarding the requisite state of mind, but he should not be permitted to introduce

evidence or arguments regarding Office of Legal Counsel (OLC) opinions regarding executive

privilege. See United States v. Bannon, D.D.C. Case No. 1:21-cr-670, Hrg. Tr. 7/11/22 at 115-116

(oral ruling granting motion in limine; “[defendant] cannot present evidence regarding [OLC

opinions and DOJ writing] to demonstrate that he believed he was not required to comply with the

Subpoena, since that question is irrelevant to whether [defendant] deliberately and intentionally

failed to comply with the Subpoenas. So too with his assertions of privilege. As a general matter,

none of that evidence can justify his failure to appear or produce documents under Licavoli.”); id.

at 121 (“Evidence regarding the reasons that [defendant] did not comply with the Subpoena here,

for example, because he didn’t believe the Subpoena was valid or because he was -- he believed

he was legally excused from showing up as a result of the former President’s implication of

executive privilege or because he relied on his lawyers’ advice on these topics, these are




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[ir]relevant to the criminal charges here and therefore inadmissible.”). 4      At bottom, injecting

executive privilege into the trial when it provides no valid defense is an attempt at jury

nullification, and it should not be permitted. See e.g., United States v. Wilkerson, 966 F.3d 828,

834-35 (D.C. Cir. 2020) (discussing the role of the jury to apply the law as instructed by the court).

    III.      Defendant May Not Raise Before the Jury Defenses that he has Waived

           The Defendant persists in his argument that he should be able to challenge the composition

of the Committee that issued his subpoena, although the facts underlying his proposed challenge

were a matter of public record and he failed to raise them at the time of his offense. ECF No. 59

at 14. The law is abundantly clear, however, that because he failed to raise such objections before

the Committee at the time of his non-compliance, he cannot raise them now before the Court or

before the jury. Bryan, 339 U.S. at 332-33; Fleischman, 339 U.S. at 352; Hutcheson v. United

States, 369 U.S. 599, 608-611 (1962) (stating that a constitutional objection “must be adequately

raised before the inquiring committee if [it] is to be fully preserved for review in this Court. To

hold otherwise would enable a witness to toy with a congressional committee in a manner


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  Even if the law regarding contempt and executive privilege were what the Defendant wishes, and
even if this were somehow an issue for trial, the Defendant continues to ignore what is plain in the
very OLC opinions he cites and from which he quotes: they require a Presidential assertion of
Executive Privilege that does not exist in this case. See ECF No. 59 at 3-4 and notes 4 and 5
(referring repeatedly to “Presidential assertions” of executive privilege). The Defendant suggests
that there can be “no real doubt” that, if asked, the former President “would have” advised the
Defendant to assert all privileges, Id. at 1, but there is no evidence that he actually did so.
Defendant is faced with the undisputed fact that the only statement regarding executive privilege
from the former President was a public post related to a different subpoena, issued by a different
Committee, on a different subject matter, months before the Select Committee subpoena at issue
in this case. Though he appears to regret his concession of these clear facts, Id. at 13, he has
offered no alternative assertion of privilege by the former President in any of the prior litigation,
and he offers none now. The government is aware of none, the Committee received none, and the
Court has rightly relied upon his concession of this point. ECF. No 55 at 5 & n.2; Hrg. Tr. 8/31/22
at 39-40, 41. The Defendant thus stands in sharp contrast to two other witnesses for whom the
former President’s counsel provided a clear, written assertion of executive privilege. ECF No. 55
at 5.


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obnoxious to the rule that such committees are entitled to be clearly apprised of the grounds on

which a witness asserts a right of refusal to answer.”) (internal citations omitted). The Defendant

bristles at the constraints of Bryan, but its meaning is quite clear. As this Court has noted, “[i]t

would appear that Defendant has waived any such challenges to the Committee’s composition, as

he did not raise them first before the Committee itself.” See Order, ECF No. 55 at 11 (citing

Liveright v. United States, 347 F.2d 473, 475–76 (D.C. Cir. 1965)). Consistent with that law, the

Court should not permit evidence or argument before the jury on those legal defenses that have

been waived. See United States v. Bannon, Hrg. Tr. 7/11/22 at 126-133; 128 (granting motion in

limine to exclude evidence about whether the composition of the Select Committee and its

leadership complied with House Rules; such “evidence is excludable and will not be presented to

the jury”).

        Although it is not entirely clear what evidence or cross-examination the Defendant

envisions using at trial, he suggests that he should be permitted to probe matters involving politics

and the formation of the Committee as a vehicle for challenging the credibility of government

witnesses or the investigation. ECF No. 59 at 19-22. The Government agrees that the Defendant

has a right to cross-examine its witnesses for bias, but bias is not a wedge that opens the door to

otherwise waived defenses or legal issues that are not for the jury. The Court should ensure that

the Defendant does not inject politics into the case in a manner that is likely to confuse the jury or

invite decision on an improper basis. Fed. R. Evidence 403; see also Delaware v. Van Arsdall,

475 U.S. 673, 679 (1986) (“[T]rial judges retain wide latitude insofar as the Confrontation Clause

is concerned to impose reasonable limits on such cross-examination based on concerns about,

among other things, harassment, prejudice, confusion of the issues, the witness’ safety, or

interrogation that is repetitive or only marginally relevant.”).




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   IV.      The Defendant May Not Use the Doctrines of Public Authority or Entrapment
            by Estoppel as a Means to Inject Executive Privilege Issues into the Trial

         Should the Court determine that executive privilege does not provide the Defendant with a

legal defense to the charges, the trial should proceed without further argument on that issue before

the jury. Put simply, the issue is not one for the jury to resolve. The Defendant claims, however,

that he should be able to argue this same issue executive privilege issue to the jury under the guise

of public authority or entrapment by estoppel. See ECF No. 16 (“Dr. Navarro is entitled to present

his defense that he acted upon a valid directive by former President Trump not to comply with the

Select Committee’s subpoena consistent with decades of OLC interpretations….”)                  The

Government has pointed out that the Defendant has not made the requisite showing to warrant

these defenses because no government official granted him the authority to violate the law. See

ECF No. 58 at 5-8; ECF No. 47. There is nothing in the law of public authority or entrapment by

estoppel that entitles him to circumvent the Court’s pretrial rulings and inject into the trial any

legal issues regarding executive privilege.

         In support of his flawed entrapment argument, ECF No. 59 at 17, the Defendant reiterates

that the Government has the burden to prove that he acted with the requisite intent, a matter on

which the Government agrees. But here again the Defendant fails to accept that, under the

established law of Contempt of Congress set forth above, the term “willful” means only that he

acted deliberately and not by mistake or accident. The requisite intent admits of no exception for

a mistake of law regarding executive privilege. Accordingly, he may not argue to the jury that he

believed his conduct was authorized by someone else. See United States v. Bannon, Hrg. Tr.

7/11/22 at 122-126 (granting motion in limine); 122 (“defenses of entrapment by estoppel or public

authority” cannot “go to the jury”); id. at 125 (court “will therefore not instruct the jury on a



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defense of public authority” and “will exclude the evidence that would go to that defense,” nor for

“apparent authority” defense).

   V.      Conclusion

        The Government requests the Court enter an order precluding the Defendant from offering

inadmissible evidence and argument.


                                             Respectfully submitted,

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